Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 1 of 19 PageID: 261




                       Exhibit 7
          Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 2 of 19 PageID: 262



         Infringement Claim Chart for U.S. Pat. No. US10491748B1 v. Rent-a-Wreck (“Defendant”)


   Claim11                                             Evidence
11. A method for The Rent-a-Wreck customer service platform performs a method for assigning
assigning        communications.
communications
, comprising:    For example, the Rent-a-Wreck customer service platform assigns incoming calls
                 (including SMS and live chats) to call center agents.




                Source: https://www.rentawreck.com/contact.htm




                                                 1
               Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 3 of 19 PageID: 263




                     Source: https://www.rentawreck.com/helpful-information.htm




                     Source: https://www.rentawreck.com/initchat.html

receiving a          The Rent-a-Wreck customer service platform receives multiple respective
plurality of         communications that are to be associated with a respective resource selected from




                                                      2
           Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 4 of 19 PageID: 264




respective        multiple resources.
communications
for association   For example, the Rent-a-Wreck customer service platform receives multiple incoming
with a            calls (e.g. including phone calls, SMS and live chats) from customers requesting support
respective        or information. Each incoming call is to be assigned, by the customer service platform, to
resource          a call center agent who can help the customer with the customer’s request.
selected from a
plurality of
resources;




                  Source: https://www.rentawreck.com/contact.htm




                                                    3
Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 5 of 19 PageID: 265




      Source: https://www.rentawreck.com/helpful-information.htm




                                       4
           Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 6 of 19 PageID: 266




                   Source: https://www.rentawreck.com/initchat.html

identifying a      The Rent-a-Wreck customer service platform identifies multiple resources that are
plurality of       available for association with a respective communication and are capable of handling
resources          the respective communication. Each available resource has a limited quantitative
available for      capacity for association with multiple communications and an availability state.
association with
a respective       For example, the Rent-a-Wreck customer service platform uses one or more of
communication      interactive voice response (e.g. language), caller identification (e.g. user account profile)
and capable of     and customer relationship management information to determine the nature of a call
handling the       and thereby, the required skill of a call center agent to handle the call. Based on the
respective         required skill set, the customer service platform identifies call center agents (i.e.
communication,     resources) who possess the skill set and are therefore capable of handling the call. Those
each available     identified agents who are immediately, or will soon be, available to handle the call are
resource having    deemed by the customer service platform to be available to handle the call. Each call
a limited          center agent is typically handling only one call at any moment but can be assigned to
quantitative       multiple calls that are waiting in a queue, the size of which is dependent on various
capacity for       factors (e.g. call volume during peak season).
association with
multiple
communications
and an
availability
state;




                                                      5
Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 7 of 19 PageID: 267




      Source: https://www.rentawreck.com/contact.htm




      Source: https://www.rentawreck.com/helpful-information.htm




      Source: https://www.rentawreck.com/initchat.html




                                       6
Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 8 of 19 PageID: 268




      Source: https://www.rentawreck.com/helpful-information.htm




                                       7
Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 9 of 19 PageID: 269




      Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts




                                       8
           Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 10 of 19 PageID: 270




calculating a      The Rent-a-Wreck customer service platform calculates a respective score associated
respective score   with each available resource dependent on the availability state of a respective available
associated with    resource.
each available
resource           For example, for each available agent, the Rent-a-Wreck customer service platform
dependent on       determines an estimated wait time that the caller will remain in a queue or on-hold
the availability   before the agent can take the call (e.g. to prioritize urgent communications).
state of a
respective
available
resource;




                   Source: https://www.rentawreck.com/contact.htm




                                                     9
Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 11 of 19 PageID: 271




      Source: https://www.rentawreck.com/helpful-information.htm




      Source: https://www.rentawreck.com/initchat.html




                                       10
           Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 12 of 19 PageID: 272




                 Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts


estimating an    The Rent-a-Wreck customer service platform estimates an expected economic value to
expected         be obtained by associating each respective communication with each respective




                                                  11
           Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 13 of 19 PageID: 273




economic value     available resource. The estimated economic value is dependent on at least the score and
to be obtained     a respective communication-content dependent value function of an outcome of a
by associating     respective communication associated with a respective available resource.
each respective
communication      For example, for a given call, the Rent-a-Wreck customer service platform determines,
with each          from the group of available agents, an appropriate agent for handling the call. This
respective         determination is dependent on the estimated wait time before the call is routed to the
available          particular agent and how well the requirements of the call match the skill profile of the
resource,          particular agent.
dependent on at
least the score
and a respective
communication-
content
dependent value
function of an
outcome of a
respective
communication
associated with
a respective
available
resource; and




                   Source: https://www.rentawreck.com/contact.htm




                                                    12
Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 14 of 19 PageID: 274




      Source: https://www.rentawreck.com/helpful-information.htm




      Source: https://www.rentawreck.com/initchat.html




                                       13
           Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 15 of 19 PageID: 275




                   Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts


assigning each     The Rent-a-Wreck customer service platform assigns each of the multiple respective
of the plurality   communications to one of the multiple resources based on at least the estimated
of respective      expected economic value to be obtained by associating each respective communication
communications     with each respective resource.




                                                  14
          Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 16 of 19 PageID: 276




to one of the
plurality of      For example, based on the estimated expected economic value by Customer feedback
resources based   survey & rating and the skilled agent by analysis of skills, the Rent-a-Wreck Customer
on at least the   Service system selects a call center agent to handle the call and connects that agent
estimated         with the caller.
expected
economic value
to be obtained
by associating
each respective
communication
with each
respective
resource.




                  Source: https://www.rentawreck.com/contact.htm




                                                 15
Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 17 of 19 PageID: 277




      Source: https://www.rentawreck.com/helpful-information.htm




      Source: https://www.rentawreck.com/initchat.html




                                       16
Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 18 of 19 PageID: 278




                                       17
Case 1:23-cv-04377-RMB-EAP Document 1-11 Filed 08/11/23 Page 19 of 19 PageID: 279




      Source: https://www.complaintsboard.com/rent-a-wreck-b126894/contacts




                                       18
